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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 SHIRA PERLMUTTER,

                Plaintiff,

 v.                                                   Case No. 1:25-cv-01659-TJK

 TODD BLANCHE et al.,

                Defendants.


                        MOTION TO ENTER A BRIEFING SCHEDULE

       Plaintiff respectfully moves the Court to enter the following expedited briefing schedule

for Plaintiff’s motion for summary judgment. Although the Court denied Plaintiff’s motion for a

temporary restraining order, ECF No. 2, on May 28, 2025, based on its view that Plaintiff did not

establish irreparable harm, there remains a pressing need for both the parties and the public to

obtain a speedy resolution of this matter, as the leadership of the Library of Congress and the

Copyright Office will remain in dispute until the legality of Defendants’ actions is adjudicated on

the merits. It would best serve judicial economy and the interests of the parties to proceed to

final judgment. If, however, expedited summary judgment is unavailable, then Plaintiff would

request an opportunity to confer further with Defendants to determine a schedule for briefing a

preliminary injunction.

       Plaintiff therefore respectfully requests that the Court enter the following briefing

schedule:

       •    Plaintiff’s motion for summary judgment: June 5, 2025;

       •    Defendants’ opposition to Plaintiff’s motion for summary judgment: June 12,

            2025; and

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       •   Plaintiff’s reply in support of her motion for summary judgment: June 16, 2025.

       Plaintiff has conferred with Defendants who have stated their position as follows:

“Defendants do not agree that now is the appropriate time to agree to a summary judgment

schedule.” Defendants have also stated that they intend to file an opposition to this motion.



Dated: May 29, 2025                          Respectfully,
                                             /s/ Allyson R. Scher
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